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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-175-1, 2, 3, 5 (TJK)
               v.                             :
                                              :
ETHAN NORDEAN,                                :
                                              :
JOSEPH BIGGS,                                 :
                                              :
ZACHARY REHL,                                 :
                                              :
                       and                    :
                                              :
ENRIQUE TARRIO,                               :
                                              :
                       Defendants.            :


                    GOVERNMENT’S RESPONSE TO BIGGS’
            SUPPLEMENT TO TARRIO’S MOTION TO TRANSFER VENUE
            AND TARRIO’S MOTION TO CALL POLLSTER AS A WITNESS

       Defendant Biggs has filed a supplement to Tarrio’s pending motion to transfer venue from

the District of Columbia to the Southern District of Florida. That supplement consists mainly of

a new juror poll, commissioned by the defendants in this case and carried out by In Lux Research

(ILR), the same firm that conducted a previous poll cited in defendant Tarrio’s original motion.

See ECF Nos. 349, 477. The previous ILR poll cited by the defendants did not establish

presumptive prejudice requiring a pre-voir dire transfer out of the District of Columbia. See United

States v. Rhodes, et. al., No. 22-cr-15 (APM), Doc. 176 at 42; United States v. Garcia, 2022 WL

2904352 (D.D.C. 2022) (Berman Jackson, J.); see generally also Gov’t Opp’n to Defendant’s

Motion to Transfer Venue, ECF No. 376 at 13-22. This new poll fares no better.
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                                   PROCEDURAL HISTORY

         Defendant Tarrio filed his motion to transfer venue on May 2, 2022, followed by a “notice

of support,” attaching additional polling, on May 3, 2022. ECF Nos. 349, 351. Tarrio cited a poll

conducted by ILR (“first ILR Poll”) in connection with a different case arising out of the events of

January 6, 2021. The government filed an opposition on June 2, 2022. ECF No. 376. On June 9,

2022, Rehl and Biggs both moved to join Tarrio’s motion, and Tarrio filed a reply in support of

his original motion. ECF Nos. 384, 386, 389. The Court granted those motions by Minute Orders

dated June 10, 2022. The government filed a response to Biggs’ and Rehl’s supplemental filings

on June 21, 2022. ECF No. 413. Nordean moved to join Tarrio’s motion on September 30, 2022,

ECF No. 471, and the Court granted that motion by Minute Order dated October 4, 2022.

Defendant Biggs filed the instant supplement on October 10, 2022, which included a poll

conducted by ILR (“second ILR Poll”) at the behest of these defendants. 1 ECF No. 477. On

October 14, 2022, Tarrio filed a motion to call the pollster as a witness at an unspecified hearing.

ECF No. 484. The government’s response to Biggs’ supplement and Tarrio’s motion to call the

pollster as a witness is below.

                                          ARGUMENT

    I.      Voir Dire Will Adequately Safeguard The Defendants’ Rights to a Fair Trial

         The second ILR Poll moves the defendants no closer to overcoming the strong preference

in the federal criminal justice system for screening potential juror bias through voir dire. The

government has made that point in prior filings and it will not belabor it here. However, it bears




1
        Biggs’ supplement states that he submits “on behalf of all five defendants,” the second ILR
Poll, and that Tarrio’s motion was joined by all five defendants. ECF No. 477 at 1. The docket
does not reflect Pezzola as having moved to join Tarrio’s motion. If Pezzola does in fact join, the
government requests that this response apply to him as well.


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repeating that the D.C. Circuit has opined that the District Court was “correct” to deny the

defendants’ “pre-voir dire requests for . . . a change of venue,” United States v. Haldeman, 559

F.2d 31, 63-64 (D.C. Cir. 1976), even in a case where pre-trial polling found that 93% of the D.C.

population knew of the charges against the defendants and 61% had formed the opinion that they

were guilty. Id. at 144, 178 n.2 (MacKinnon, J., concurring in part and dissenting in part).

       Other Circuits are in accord with the D.C. Circuit’s preference for voir dire over polling.

In United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that 99 percent of

respondents had heard about the brutal rape and murder with which the defendant was charged,

nearly 88 percent of those respondents believed he was guilty, and about 42 percent of respondents

had a strongly held opinion of his guilt. Id. at 786; Brief for Appellant, United States v. Rodriguez,

No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth Circuit found no

presumption of prejudice, observing that a district court was not required “to consider public

opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at 786. In

upholding the District Court’s decision not to transfer venue out of Boston in the trial arising out

of the Boston Marathon bombing, the First Circuit noted that the Supreme Court’s emphasis on

the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that poll

percentages . . . decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d 14,

23 (1st Cir. 2015) (per curiam).

       Moreover, the voir dire in January 6th cases that have gone to trial so far has not borne out

the fears envisioned by the defendants in reliance on polls like the ILR Polls. United States v.

Rhodes, et. al., the only other case which has to date resulted in seditious conspiracy charges

arising out of January 6th, is currently in trial, and Judge Mehta issued a jury questionnaire prior

to conducting voir dire.     That questionnaire addressed many of the issues raised by these




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defendants, including the House Select Committee hearings and the prospective jurors’ exposure

to information about the events of January 6, 2021. The responses Judge Mehta received did not

bear out the picture of bias painted by the ILR Polls. See generally United States v. Rhodes, et.

al., No. 22-cr-15 (APM) (Sept. 27, 2022, Hr’g Tr., morning session, at 14-23). 2 The table below

summarizes the percent of prospective jurors who gave an affirmative or negative response in

response to select questions from the questionnaire used in that case. 3

                         Question                           Percent Affirmative       Percent Negative

    11. Anything that would affect ability to be fair and            21%                    89%
    impartial?
    22. Concern for safety of yourself or a friend on                37%                    63%
    January 6?
    44. Attend, View, or Listen to House Select                      55%                    45%
    Committee Hearings?
    45. Strong Opinion about January 6th that would                  30%                    70%
    affect ability to be fair?
    46. Heard of Oath Keepers?                                       59%                    41%
    47. Heard anything about Oath Keepers that would                 24%                    76%
    affect ability to be fair and impartial?
    48. Heard of defendants on trial?                                12%                    88%
    49. Anything that would affect ability to be fair and             5%                    95%
    impartial as to defendants on trial?


See id. at 15-19. As Judge Mehta noted, these numbers show that 45 percent of the venire in that

case did not even watch the Select Committee hearings, let alone have strong feelings on them; 70

percent said they did not have such strong feelings about January 6th that they could not be fair




2
          A copy of relevant portions of that transcript is attached hereto as Exhibit 1.
3
        The “question” section of the table is a shorthand version of the full questions asked, which
are attached hereto for the Court’s convenience as Exhibit 2. The numbers in the “question”
section of the table correspond with the numbers of the questions from in Exhibit 2. The
government agrees with Judge Mehta that not all of these questions go directly to bias, see id. at
15, but we include them to give the Court the full picture.


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and impartial; and a full 95 percent stated that they could be fair and impartial as to those

defendants. Id. at 16-18.

         Of the 150 prospective jurors called to answer the questionnaire ahead of the Rhodes trial—

one of the highest profile cases to arise out of the events of January 6—a total of 49, or just under

one-third, answered affirmatively to any of the questions above that asked whether they could be

fair stemming from the specifics of that case (Nos. 45, 47, and 49). Id. at 18. Despite that case

receiving significant press attention, only 12 percent of prospective jurors had heard of the

defendants on trial, and only five percent thought they could not be fair to those particular

defendants. Only about one-third of the strikes for cause based on questionnaire responses in that

case were made for bias-related reasons. Id. at 18-19.

   The numbers produced from a real-world voir dire in an analogous case are a far cry from the

purported 91 percent bias rate advocated by the defense, and they strongly counsel against

transferring venue out of the District of Columbia prior to conducting any voir dire. See Irvin v.

Dowd, 366 U.S. 717, 722-23 (1961) (A prospective juror is not disqualified simply because he has

“formed some impression or opinion as to the merits of the case. . . . It is sufficient if the juror can

lay aside his impression or opinion and render a verdict based on the evidence presented in court.”).

   II.      The ILR Poll Does Not Support Transferring Venue to the Southern District of
            Florida.

         Even taking the second ILR Poll at face value, it does not provide a reason to transfer venue

to the Southern District of Florida (SDFL). The poll itself is identical to that used in the first ILR

Poll, save for the inclusion of the SDFL and the Middle District of Pennsylvania, and the exclusion

of the Middle District of Florida and the Eastern District of North Carolina. The government has

previously argued that the poll questions and responses used by ILR do not demonstrate

insurmountable bias in this District, and it incorporates those arguments previously made herein.



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See ECF No. 376 at 18-22. This response focuses on the survey responses in D.C. and SDFL

given that the defendants have requested transfer venue to SDFL.

        The poll demonstrates that respondents were aware of the events of January 6 at slightly

higher rates in SDFL (97.89%) than the District of Columbia (97.27%). ECF No. 477-1 at 6

(Question 1). The two jurisdictions had roughly comparable rates of news exposure, with a higher

percentage of respondents in SDFL (31.35%) than in D.C. (27.43%) saying they were exposed

more than ten times per week to news about the events of January 6. Id. (Question 4). A

comparable percentage of respondents (66.79% in D.C., 66.27% in SDFL) responded that they

would not expect negative effects in their community from a not-guilty vote, and only slightly

more D.C. respondents than SDFL respondents (19.26% to 16.51%) responded that they would

expect negative effects. Id. at 8 (Question 10). Similarly, the rate at which respondents replied

that they did not believe they could be fair jurors was remarkably similar (20.99 percent in D.C.,

20.86 percent in SDFL), and a significantly larger portion of D.C. respondents thought their

neighbors could be fair jurors—54.74%, as compared to 33.09% from SDFL. 4 The poll as a whole

simply does not support a finding of insurmountable bias in the District of Columbia vis-à-vis

SDFL.




4
        The ILR pollster tries to explain away the fact that 63.72 percent of D.C. respondents
responded that they could be fair and impartial jurors, the second-highest rate in the second ILR
Poll (behind only SDFL at 69.30%). See ECF No. 477-1 at 5, 8, (Question 10). The pollster tried
unpersuasively to explain away a similar difference in the first ILR poll. See ECF No. 376 at 21-
22. This second attempt, in which the pollster acknowledges that the poll “does not prove that
respondents are being disingenuous” is no more persuasive when it argues that venue must be
transferred because “most of their prospective jurors will need to be convinced to change their
mind on issues of the case.” ECF No. 477-1 at 5. This statement, like the earlier attempts to
explain the disparity, still assumes without basis that jurors would fail to put aside any
preconceived opinions about a case. And it ignores Supreme Court precedent holding that
knowledge of or preconceived notions about a case do not necessarily render a juror unable to be
impartial. See Reynolds v. United States, 98 U.S.145, 155-56 (1878); Irvin, 366 U.S. at 723.


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       The findings of the second ILR poll—just like the first—focused on supposed “prejudicial

prejudgment” questions. ECF No. 477-1 at 3-4. Those questions are:

       (1) “Are you more likely to find a defendant charged with crimes for activities on January

           6th guilty or not guilty? Or is it too early to decide?” (74% of D.C. respondents

           answered “Guilty.”)

       (2) “In your opinion, which of the following terms best characterizes the Events of January

           6th? 1) An insurrection, 2) An attack, 3) A riot, 4) A protest that got out of control, 5)

           A rally.” (87% of D.C. respondents chose insurrection, attack, or riot.)

       (3) “Do you believe that the individuals who entered the Capitol on January 6th planned

           to do it in advance or decided to do it that day?” (61% of D.C. respondents selected

           “planned in advance.”)

       (4) “Do you believe The Events of January 6th were racially motivated?” (35% of D.C.

           respondents answered in the affirmative.)

       As was the case with the first ILR poll, the last three of these questions do not support a

presumption of prejudice because they have little relevance to the potential issues at trial. The trial

in this case would not require jurors to determine whether the events of January 6 were an

“insurrection,” an “attack,” a “riot,” or a “protest that got out of control.” Nor will the jury be

asked to determine whether anyone planned in advance to go in the Capitol or whether the attack

was racially motivated.

       The first purported prejudicial prejudgment question—whether the respondent would vote

guilty or not guilty for a hypothetical, unspecified January 6 defendant—did not ask about a

specific crime or about whether the respondent could keep an open mind and decide a case based

on evidence and the judge’s instructions. With such broad wording the Court is left only to




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speculate as to what the respondents who answered in the affirmative were thinking when they

said they would likely vote guilty. Are they thinking of misdemeanor charges, such as the type

brought under 18 U.S.C. § 1752(a)(1)? Are they thinking of those who assaulted police?

Something else entirely? The question does not and cannot say. The answers to this question are

nearly useless to the Court, and the type of information it seeks to elicit is better obtained in voir

dire, where the court can ask questions about a concrete case and follow up answers with further

questions. See United States v. Garcia, 2022 WL 2904352 at *13 (D.D.C. 2022) (Berman Jackson,

J.)

       In any event, even if some D.C. residents have “prejudgments,” the answer is to exclude

those jurors through the voir dire process. Just like in the first ILR Poll, the second ILR Poll shows

that all jurisdictions surveyed—including SDFL—had no shortage of affirmative responses to the

purported prejudgment questions. More than half (52.98%) of SDFL respondents responded that

they would vote guilty, for example, along with 42.83% in the Middle District of Pennsylvania

and 51.94 percent in the Eastern District of Virginia. ECF No. 477-1 at 6 (Question 3). Over 50%

of SDFL respondents indicated that the events of January 6 were criminal in some way (as the

survey administrators defined that term), and nearly 50% thought it was planned in advance. Id.,

Questions 5 and 6. Just as with the first ILR Poll, this demonstrates that a careful voir dire would

be necessary in any jurisdiction, and it fails to show that voir dire would be inadequate to weed

out biased jurors in the District of Columbia. In other words, none of the purported prejudicial

prejudgment questions sheds any light on what the Supreme Court has made clear is the key

question in jury selection: whether a prospective juror could “lay aside his impression or opinion

and render a verdict based on the evidence presented in court.” Irvin, 366 U.S. at 722-23.




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   III.      The House Select Committee Hearings Do Not Require Transfer

          Although the second ILR Poll did not measure what percentage of prospective jurors have

watched or listened to the Select Committee hearings, both Biggs and Tarrio have raised those

hearings in their recent pleadings. ECF Nos. 477, 484. The defendants have not even attempted

to show that any bias from those hearings is local, rather than national, in scope. And, given the

nationally televised nature of those proceedings, it is unlikely that defendants could make such a

showing. As noted above, in a recent case, a full 45 percent of the venire had watched none of the

hearings at all. For those prospective jurors who have watched some portion of the hearings, the

defendants have proffered no reason follow-on questioning would be inadequate to address any

potential bias. The Select Committee hearings are simply not a reason to transfer venue out of

the District of Columbia.

          Tarrio also filed a motion to “allow the testimony of Ms. Lindsay Olson of In Lux Research

and Analytics, Dallas, Texas” to testify at a hearing on the venue motion pursuant to Fed. R. Evid.

614. ECF No. 484. It is unclear why Tarrio cites Rule 614, given that the Rules of Evidence

generally do not apply at pretrial hearings. See Fed. R. Evid. 1101(d)(3). Moreover, Tarrio’s

motion mentions Ms. Olson only in connection with prejudice he alleges stems from the Select

Committee hearings, and her polling asked no questions about those hearings. And, in any event,

Tarrio has not identified any information Ms. Olson would be able to provide at a hearing that is

not already set forth in the reports accompanying the ILR polls. There is no need to call her at a

hearing.




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                                        CONCLUSION

       The defendants have failed to establish that a change in venue is appropriate. The national

scope of the media coverage of this case and the Select Committee hearings means that any

potential juror bias is not limited to the District of Columbia. And the use of focused voir dire

would suffice to identify and root out any such bias. The defendants’ request to transfer venue

should thus be denied.

                                            Respectfully submitted,

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